Case 1:18-cv-23190-DPG Document 52 Entered on FLSD Docket 01/04/2019 Page 1 of 15



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


  TIMOTHE DOLCINE                                               CASE NO: 18 -CV-23190 DPG

         Plaintiff,

  vs.

  THE VILLAGE OF BISCAYNE PARK,
  A municipality of the State of Florida
  CHIEF RAIMUNDO ATESIANI,
  OFFICER CHARLIE DAYOUB,
  OFFICER RAUL FERNANDEZ
  OFFICER GUILLERMO RAVELO


         Defendants.
                                                 /

                                 SECOND AMENDED COMPLAINT

         Plaintiff, TIMOTHE DOLCINE, by and through the undersigned attorney sues

  defendant(s) THE VILLAGE OF BISCAYNE PARK, (a municipality of the State of Florida),

  CHIEF RAIMUNDO ATESIANO, CHARLIE DAYOUB, RAUL FERNANDEZ and

  GULLIERMO RAVELO in their individual capacities, and states:

                                   JURISDICTION AND VENUE

         1.      Jurisdiction of this Court exists by virtue of claims under 42 U.S.C §1983 for

  violations of federal constitutional rights. Pursuant to 28 U.S.C. §1331 and §1334(a)(3) this

  Court has original jurisdiction over this action as it presents a “federal question”

         2.      Venue is proper in this Court as the controversy arose in Miami-Dade County,

  Florida.

                                               PARTIES

         3. Plaintiff, TIMOTHE DOLCINE, is and for all times pertinent was a resident of

  1|Page
Case 1:18-cv-23190-DPG Document 52 Entered on FLSD Docket 01/04/2019 Page 2 of 15



  Miami-Dade County, Florida.

         4.      At all times material hereto Defendant, THE VILLAGE OF BISCAYNE PARK

  (THE VILLAGE) is a municipal corporation and provided a Department of Public Safety

  (“Village of Biscayne Park Police Department”) to protect the public. At all times relevant THE

  VILLAGE employed the defendant police sued herein.

         5.      At all times material hereto Defendant, RAIMUNDO ATESIANO (ATESIANO),

  was an employee and the Chief of Police of the Village of Biscayne Park Police Department. As

  Chief ATESIANO established policy for the department, and is responsible for the conduct of

  his officers, ensuring they obey the laws of the state of Florida, and the United States. Defendant

  ATESIANO is being sued in his individual capacity.

         6.      At all times material hereto Defendants, CHARLIE DAYOUB, RAUL

  FERNANDEZ, GUILLERMO RAVELO, were police officers and full-time employee of the

  Village of Biscayne Park Police Department, acting under color of law. Said officers are being

  sued in the individual capacities.

         7.      The defendants violated Plaintiff TIMOTHE DOLCINE’s constitutional rights

   under the Fourth, Fifth, and Fourteenth Amendments to the United States Constitution.

         8.      At all times material hereto, and in all their acts described herein, Defendants

   were acting under color of state law, and color of their authority as public officials and public

   employees.

                                       GENERAL ALLEGATIONS

         9.      On February 28, 2013 the Plaintiff was a minor, 16 years old, living with his

  mother in the Village of Biscayne Park.




  2|Page
Case 1:18-cv-23190-DPG Document 52 Entered on FLSD Docket 01/04/2019 Page 3 of 15



          10.    The Defendant VILLAGE OF BISCAYNE PARK was required to hire and train

  officers who were competent, and law-abiding police officers to protect citizens and not violate

  federally protected rights of persons they encountered.

          11.    The VILLAGE OF BISCAYNE PARK failed to hire competent law-abiding

  police and supervise them to enforce the law without violation of federal protected rights of

  citizens.

          12.    On that date and time, Defendant RAVELO chased two black males allegedly

  driving a 2005 BMW.

          13.    After the vehicle crashed, RAVELO alleged he identified the Plaintiff as the

  driver and initiated the process for the Plaintiff to be picked up on several charges including

  battery on a law enforcement officer, resisting arrest with violence and disorderly conduct.

          14.    Defendant RAVELO also issued 22 traffic citations to the Plaintiff, none of which

  were based upon probable cause or reasonable suspicion.

          15.    The actions of Defendant RAVELO were done with malice, for an evil purpose

  based upon racial animus, and discriminatory motives.

          16.    On or about June 13, 2013 Plaintiff still a minor, 16 years old, was arrested by the

  Village of Biscayne Park Police Department based upon Defendant RAVELO’S accusations

  from February 28, 2013.

          17. Plaintiff was additionally charged with four separate burglaries to unoccupied

  dwellings that occurred in April and May 2013 in Biscayne Park without probable cause.

          18.    The first burglary was allegedly committed April 2, 2013 at the location of 1222

  NE 12th St. when the rear door was pried open, and Defendants DAYOUB and FERNANDEZ

  charged Plaintiff.



  3|Page
Case 1:18-cv-23190-DPG Document 52 Entered on FLSD Docket 01/04/2019 Page 4 of 15



          19.     The second burglary was allegedly committed April 2, 2013 at the location 11408

  NE 2nd Avenue when the rear door was pried open, and Defendants DAYOUB and

  FERNANDEZ charged Plaintiff.

          20.     The third burglary was allegedly committed April 10, 2013 at 12022 NE 10th

  Avenue when the rear door was pried open, and Defendants DAYOUB and FERNANDEZ

  charged plaintiff.

          21.     The fourth burglary was allegedly committed May 22, 2013 at the location of

  11790 NE 12th Court when the rear door was pried open and Defendants DAYOUB and

  FERNANDEZ charged plaintiff.

          22.     On or about June 13, Defendants DAYOUB and FERNANDEZ caused the four

  arrests affidavits with false allegations to be executed.

          23.     The false affidavits prepared by Defendant’s DAYOUB and FERNANDEZ were

  done in furtherance of the a conspiracy, with malice, evil intent and based upon racial animus

  and discriminatory motives.

          24.     All the charges against the Plaintiff were resolved in his favor; however, he was

  incarcerated, and unable to get a license due to the violation of his civil rights under color of law.

          25.     The Defendants were part of a conspiracy to make false arrests to satisfy the

  Village that crime was being eliminated. The then juvenile Plaintiff, Dolcine, nor his parent,

  knew of this conspiracy. Neither the Plaintiff nor his parent had reason to know of the conspiracy

  to violate Plaintiff’s civil rights until the matter was investigated.

          26.     On June 7, 2018 an indictment was filed against the Chief of Police for the

  Biscayne Park Police Department Raimundo Atesiano, Officer Charlie Dayoub and Officer Raul

  Fernandez. (See Attached Exhibit 1)



  4|Page
Case 1:18-cv-23190-DPG Document 52 Entered on FLSD Docket 01/04/2019 Page 5 of 15



         27.     They were charged with conspiracy to violate the civil rights of Plaintiff

  TIMOTHE DOLCINE under color of law.

         28.     The indictment charges the police chief Defendant ATESIANO since he caused,

  conspired and encouraged officers to arrest people of African descent including Plaintiff without

  legal basis to create a clearance record of all burglaries in the city. Upon information and belief,

  the Defendants conspired to falsely arrest, and deprive Plaintiff, and others of their rights under

  color of law for unsolved residential burglaries and other violations. This was done with racial

  animus, evil intent and malice.

         29.     On July 27, 2018 a superseding indictment was filed charging the Defendants

  with a broader conspiracy involving other people of African descent who were the victims of

  their conspiracy.

         30.     Defendant RAVELO was indicted for crimes including conspiracy against civil

  rights, and deprivation of rights under color of law. He entered a guilty plea to these charges July

  26, 2018. (See Attached Plea Agreement Exhibit 2).

         31.     The Defendant DAYOUB pled guilty to the indictment on August 3, 2018

  admitting to deprivation of rights under color of law. His factual proffer admitted a conspiracy to

  unlawfully arrest and falsely charge plaintiff with crimes without probable cause. (See Attached

  Plea Agreement/ Factual Proffer Exhibit 3).

         32.     Defendant ATESIANO pled guilty to the charges of conspiracy to deprive rights

  under color of law and has been sentenced to prison. The factual proffer establishes the

  conspiracy with the defendants DAYOUB and FERNANDEZ to falsely accuse, and charge

  Plaintiff with crimes he did not commit. (See Attached Plea Agreement/ Factual Proffer Exhibit

  4)



  5|Page
Case 1:18-cv-23190-DPG Document 52 Entered on FLSD Docket 01/04/2019 Page 6 of 15



         33. Defendant FERNANDEZ plead guilty to willful deprivation of rights while acting

         under color of law on August 3, 2018. His factual proffer admitted a conspiracy to

         unlawfully arrest and falsely charge plaintiff with crimes without probable cause. (See

         Attached Plea Agreement/ Factual Proffer Exhibit 5).

                   COUNT I – MALICIOUS PROSECUTION 42 U.S.C.1983
                   (AS TO DEFENDANT VILLAGE OF BISCAYNE PARK)

         34. Plaintiff realleges and reaffirms each and every allegation contained in paragraphs 1-

  33 as though fully set forth herein pursuant to 42 U.S.C. 1983.

         35.     The Defendant THE VILLAGE OF BISCAYNE PARK, in furtherance of the

  policy of racial discrimination unlawfully and without probable cause instituted criminal

  proceedings against Plaintiff.

         36.     The Arrest Affidavits charging Plaintiff were fraudulent and issued with malice

  and bad intent on the part of the defendants.

         37.     The actions of the defendant VILLAGE OF BISCAYNE PARK violated the

  Constitution of the United States of America and the right to be free from unreasonable illegal

  seizure which is violative of the Fourth Amendment and Fourteenth Amendment.

         38.    There was a bona fide termination of the criminal charges in favor of the Plaintiff.

         39.     As a direct and proximate result of the foregoing acts of the Defendant, the

  Plaintiff has and will continue to suffer great mental anguish.

         WHEREFORE, Plaintiff prays for judgment against defendant, VILLAGE OF

   BISCAYNE PARK for damages, including attorney’s fees, prejudgment interest and all costs of

  these proceedings and demands a trial by jury of all issues so triable.




  6|Page
Case 1:18-cv-23190-DPG Document 52 Entered on FLSD Docket 01/04/2019 Page 7 of 15



                COUNT II- FALSE ARREST/IMPRISONMENT 42 U.S.C. 1983
                  (AS TO DEFENDANT VILLAGE OF BISCAYNE PARK)

         40. Plaintiff realleges and reaffirms each and every allegation contained in paragraphs 1-

  33 as though fully set forth herein pursuant to 42 U.S.C. 1983.

         41.     The Defendant VILLAGE OF BISCAYNE PARK unlawfully and with malice

  arrested, and confined Plaintiff against his will without color of authority. The detention was

  unreasonable and unwarranted under the circumstances and was committed with the intention to

  cause Plaintiff’s confinement, or with substantial certainty that his confinement would result.

         42.     The proceeding against the plaintiff were terminated in his favor and no probable

  cause justified the defendants act under color of law.

         43.     The false arrest by the defendant was violative of the Constitution of the United

         States, and said seizure violates the right to be free from illegal seizures guaranteed by

         the Fourth Amendment as a clear restraint on plaintiff’s freedom of movement.

         44.     As a direct and proximate result of the foregoing acts of the Defendants, the

  Plaintiff has and will continue to suffer great mental anguish.

         WHEREFORE, Plaintiff prays for judgment against Defendant, VILLAGE OF

  BISCAYNE PARK for damages, including attorney’s fees, prejudgment interest and all costs of

  these proceedings and demands a trial by jury of all issues so triable.



                      COUNT III – ABUSE OF PROCESS 42 U.S.C.1983
                   (AS TO DEFENDANT VILLAGE OF BISCAYNE PARK)

         45.    Plaintiff realleges and reaffirms each and every allegation contained in paragraphs

  1-33 as though fully set forth herein pursuant to 42 U.S.C. 1983




  7|Page
Case 1:18-cv-23190-DPG Document 52 Entered on FLSD Docket 01/04/2019 Page 8 of 15



         46.     The Defendants willfully and intentionally misused the criminal legal process for

  some ulterior, and unlawful object or collateral purpose which was unwarranted and

  unauthorized. Specifically, the defendants misused the criminal legal process to issue excessive

  traffic violations, and issue false arrest affidavits to enhance the Village of Biscayne Park’s

  clearance rate for burglaries.

         47.     Defendant’s abuse of process is violative of the Constitution of the United States

  and contrary to the protections embodied in the Fifth Amendment of due process.

         48.     As a direct and proximate result of the foregoing acts of the Defendants, the

  Plaintiff has and will continue to suffer great mental anguish.

         WHEREFORE, Plaintiff prays for judgment against Defendant, VILLAGE OF

  BISCAYNE PARK for damages, including attorney’s fees, prejudgment interest and all costs of

  these proceedings and demands a trial by jury of all issues so triable.

                 COUNT 1V – VIOLATION OF CONSTITUTIONAL RIGHTS
                   (AS TO DEFENDANT VILLAGE OF BISCAYNE PARK)
         49.     Plaintiff realleges and reaffirms each allegation contained in paragraphs 1-33 as

  though fully set forth herein.

         50.     This is a cause of action pursuant to 42 U.S.C. §1983.

         51.     The Defendant, VILLAGE OF BISCAYNE PARK through the actions of its

  police chief ATESIANO as the final decision maker for the police department, and officers

  acting at his behest, violated, and deprived the Plaintiff of his constitutional rights. Specifically

  the Defendant violated the Plaintiff’s right pursuant to the Fourth Amendment of the

  Constitution of the United States to be free from illegal seizure, the Plaintiff’s right to be free

  from police harassment and intimidation as provided in the Fifth and Sixth Amendments of the

  Constitution of the United States; and the Plaintiff’s right to be free from malicious prosecution,



  8|Page
Case 1:18-cv-23190-DPG Document 52 Entered on FLSD Docket 01/04/2019 Page 9 of 15



  malicious abuse of process and unlawful seizure as provided by the Fourth and Fourteenth

  Amendments of the Constitution of the United States.

         52.     As a direct and proximate result of the foregoing acts of the Defendant, the

  Plaintiff has and will continue to suffer great mental anguish.

         WHEREFORE, Plaintiff prays for judgment against Defendant, VILLAGE OF

  BISCAYNE PARK for damages, including attorney’s fees, prejudgment interest and all costs of

  these proceedings and demands a trial by jury of all issues so triable.


          COUNT V – 42 U.S.C.1983 CLAIMS AGAINST DEFENDANT ATESIANO

         53.     Plaintiff realleges and reaffirms each allegation contained in paragraphs 1-33 as

  though fully set forth herein.

         54.     This is a cause of action pursuant to 42 U.S.C. §1983.

         55.     While Defendant was acting under color of law in his individual capacity he

  violated and deprived the Plaintiff of his constitutional rights. Specifically the Defendants

  violated the Plaintiff’s right pursuant to the Fourth Amendment of the Constitution of the United

  States to be free from illegal seizure, the Plaintiff’s right to be free from police harassment and

  intimidation as provided in the Fifth and Sixth Amendments of the Constitution of the United

  States; and the Plaintiff’s right to be free from malicious prosecution, malicious abuse of process

  and unlawful seizure as provide by the Fourth and Fourteenth Amendments of the Constitution

  of the United States.

         56.     The conduct of the defendant in racial profiling and targeting plaintiff is clearly

  reprehensible to a great degree.

         57.     The defendant’s conduct was motivated by evil intent, and or callousness

  indifference towards the federally protected rights of plaintiff while acting under color of law.

  9|Page
Case 1:18-cv-23190-DPG Document 52 Entered on FLSD Docket 01/04/2019 Page 10 of 15



           58.       Even more pernicious, the defendant’s conduct was racially motivated, and was

   repeatedly and intentionally directed towards people of African descent due to the policy of the

   Village.

           59.       The gross recklessness of the defendant’s conduct should shock the conscience of

   the court and deterrence requires imposition of punitive damages.

           60.       As a direct and proximate result of the foregoing acts of the Defendant, the

   Plaintiff has and will continue to suffer great mental and emotional anguish, and loss of

   enjoyment of life as heretofore alleged.

           61.       42 U.S.C. Sec. 1983 provides a remedy for violations of these rights.

   WHEREFORE, Plaintiff prays for judgment against Defendant for compensatory and punitive

   damages, including attorney’s fees, prejudgment interest and all costs of these proceedings and

   demands a trial by jury of all issues so triable.


              COUNT VI – 42 U.S.C.1983 CLAIMS AGAINST DEFENDANT DAYOUB

           62. Plaintiff realleges and reaffirms each allegation contained in paragraphs 1-33 as

                  though fully set forth herein.

           63. This is a cause of action pursuant to 42 U.S.C. §1983.

           64. While Defendant was acting under color of law in his individual capacity, he violated

                  and deprived the Plaintiff of his constitutional rights. Specifically the Defendant

                  violated the Plaintiff’s right pursuant to the Fourth Amendment of the Constitution of

                  the United States to be free from illegal seizure, the Plaintiff’s right to be free from

                  police harassment and intimidation as provided in the Fifth and Sixth Amendments of

                  the Constitution of the United States; and the Plaintiff’s right to be free from




   10 | P a g e
Case 1:18-cv-23190-DPG Document 52 Entered on FLSD Docket 01/04/2019 Page 11 of 15



                  malicious prosecution, malicious abuse of process and unlawful seizure as provide by

                  the Fourth and Fourteenth Amendments of the Constitution of the United States.

           65. The conduct of the defendant’s in racial profiling and targeting plaintiff is clearly

                  reprehensible to a great degree.

           66. The defendant’s conduct was motivated by evil intent, and or callousness indifference

                  towards the federally protected rights of plaintiff while acting under color of law.

           67. Even more pernicious, the defendant’s conduct was racially motivated, and was

                  repeatedly and intentionally directed towards people of African descent due to the

                  policy of the Village.

           68. The gross recklessness of the defendant’s conduct should shock the conscience of the

                  court and deterrence requires imposition of punitive damages.

           69. As a direct and proximate result of the foregoing acts of the Defendant, the Plaintiff

                  has and will continue to suffer great mental and emotional anguish, and loss of

                  enjoyment of life as heretofore alleged.

           70. 42 U.S.C. Sec. 1983 provides a remedy for violations of these rights.

   WHEREFORE, Plaintiff prays for judgment against Defendant for compensatory and punitive

   damages, including attorney’s fees, prejudgment interest and all costs of these proceedings and

   demands a trial by jury of all issues so triable.


         COUNT VII – 42 U.S.C.1983 CLAIMS AGAINST DEFENDANT FERNANDEZ
          71. Plaintiff realleges and reaffirms each allegation contained in paragraphs 1-33 as

                  though fully set forth herein.

           72. This is a cause of action pursuant to 42 U.S.C. §1983.




   11 | P a g e
Case 1:18-cv-23190-DPG Document 52 Entered on FLSD Docket 01/04/2019 Page 12 of 15



           73. While Defendant was acting under color of law in his individual capacity, he violated

                  and deprived the Plaintiff of his constitutional rights. Specifically the Defendant

                  violated the Plaintiff’s right pursuant to the Fourth Amendment of the Constitution of

                  the United States to be free from illegal seizure, the Plaintiff’s right to be free from

                  police harassment and intimidation as provided in the Fifth and Sixth Amendments of

                  the Constitution of the United States; and the Plaintiff’s right to be free from

                  malicious prosecution, malicious abuse of process and unlawful seizure as provide by

                  the Fourth and Fourteenth Amendments of the Constitution of the United States.

           74. The conduct of the defendant in racial profiling and targeting plaintiff is clearly

                  reprehensible to a great degree.

           75. The defendant’s conduct was motivated by evil intent, and or callousness indifference

                  towards the federally protected rights of plaintiff while acting under color of law.

           76. Even more pernicious, the defendant’s conduct was racially motivated, and was

                  repeatedly and intentionally directed towards people of African descent due to the

                  policy of the Village.

           77. The gross recklessness of the defendant’s conduct should shock the conscience of the

                  court and deterrence requires imposition of punitive damages.

           78. As a direct and proximate result of the foregoing acts of the Defendant, the Plaintiff

                  has and will continue to suffer great mental and emotional anguish, and loss of

                  enjoyment of life as heretofore alleged.

           79. 42 U.S.C. Sec. 1983 provides a remedy for violations of these rights.




   12 | P a g e
Case 1:18-cv-23190-DPG Document 52 Entered on FLSD Docket 01/04/2019 Page 13 of 15



   WHEREFORE, Plaintiff prays for judgment against Defendant for compensatory and punitive

   damages, including attorney’s fees, prejudgment interest and all costs of these proceedings and

   demands a trial by jury of all issues so triable.

           COUNT VIII – 42 U.S.C.1983 CLAIMS AGAINST DEFENDANT RAVELO

           80. Plaintiff realleges and reaffirms each allegation contained in paragraphs 1-33 as

                  though fully set forth herein.

           81. This is a cause of action pursuant to 42 U.S.C. §1983.

           82. While Defendant was acting under color of law in his individual capacity, he violated

                  and deprived the Plaintiff of his constitutional rights. Specifically the Defendant

                  violated the Plaintiff’s right pursuant to the Fourth Amendment of the Constitution of

                  the United States to be free from illegal seizure, the Plaintiff’s right to be free from

                  police harassment and intimidation as provided in the Fifth and Sixth Amendments of

                  the Constitution of the United States; and the Plaintiff’s right to be free from

                  malicious prosecution, malicious abuse of process and unlawful seizure as provide by

                  the Fourth and Fourteenth Amendments of the Constitution of the United States.

           83. The conduct of the defendant in racial profiling and targeting plaintiff is clearly

                  reprehensible to a great degree.

           84. The defendant’s conduct was motivated by evil intent, and or callousness indifference

                  towards the federally protected rights of plaintiff while acting under color of law.

           85. Even more pernicious, the defendant’s conduct was racially motivated, and was

                  repeatedly and intentionally directed towards people of African descent due to the

                  policy of the Village.




   13 | P a g e
Case 1:18-cv-23190-DPG Document 52 Entered on FLSD Docket 01/04/2019 Page 14 of 15



           86. The gross recklessness of the defendants’ conduct should shock the conscience of the

                  court and deterrence requires imposition of punitive damages.

           87. As a direct and proximate result of the foregoing acts of the Defendant, the Plaintiff

                  has and will continue to suffer great mental and emotional anguish, and loss of

                  enjoyment of life as heretofore alleged.

           88. 42 U.S.C. Sec. 1983 provides a remedy for violations of these rights.

   WHEREFORE, Plaintiff prays for judgment against Defendant for compensatory and punitive

   damages, including attorney’s fees, prejudgment interest and all costs of these proceedings and

   demands a trial by jury of all issues so triable.


                                      COUNT X CIVIL CONSPIRACY

           89. Plaintiff realleges and reaffirms each allegation contained in paragraphs 1-33 as

                  though fully set forth herein.

           90.       This is a cause of action pursuant to 42 U.S.C. §1985.

           91. The Defendant, VILLAGE OF BISCAYNE PARK, through the actions of its

                  employees ATESIANO, DAYOUB, FERNANDEZ and RAVELO, engaged in a

                  conspiracy to deprive plaintiff of his constitutional rights.

           92. The Defendants engaged in overt acts in furtherance of their conspiracy, by falsifying

                  arrest affidavits to charge the Plaintiff with burglaries, and traffic violations he did

                  not commit.

           93. The Plaintiff was exonerated of the charges but nevertheless injured by the overt acts

                  and concert of acts by the Defendants.

           94. The Defendant had a custom and policy initiated by the police chief to falsify arrest to

                  clear crime statistics in violation of the Plaintiff constitutional rights.

   14 | P a g e
Case 1:18-cv-23190-DPG Document 52 Entered on FLSD Docket 01/04/2019 Page 15 of 15



           95. The Defendant engaged in a policy and practice of racial discrimination against

                  persons of African descent within the city and said practices are pernicious to the

                  constitutional rights of the plaintiff.

           96. The Defendant acted in agreement to commit illegal acts, based upon racial animus,

                  and deprived the plaintiff of his constitutional rights by falsifying arrest records and

                  traffic tickets against him.

           97. The police have been indicted and pled guilty to federal crimes as a result of their

                  participation in the conspiracy of racial discrimination against people of African

                  descent.

           98. As a direct and proximate result of the foregoing acts of the Defendants, the Plaintiff

                  has and will continue to suffer great mental anguish.

           WHEREFORE, Plaintiff prays for judgment against Defendants for damages, including

   attorney’s fees, prejudgment interest and all costs of these proceedings and demands a trial by

   jury of all issues so triable.

           Dated January 4, 2019

                                                             /s/ William C. Robinson
                                                             WILLIAM C. ROBINSON, ESQUIRE
                                                             FL Bar No.: 386847
                                                             Attorney for Plaintiff
                                                             P.O. Box 610575
                                                             North Miami, FL 33261
                                                             Tel: (305)454-9632; Fax: (786)520-3972
                                                             Email: wcrpleadings@gmail.com




   15 | P a g e
